        Case 17-16026-elf        Doc 17Filed 11/20/17 Entered 11/20/17 17:39:41                  Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

       JOSUE CANCEL                                   Chapter 13
       ZORAIDA FALCON


                               Debtor                 Bankruptcy No. 17-16026-ELF

                                OBJECTION OF CHAPTER 13 TRUSTEE
                              TO CONFIRMATION OF PLAN OF DEBTOR(S)

       AND NOW comes, WILLIAM C. MILLER, ESQUIRE, chapter 13 standing trustee, to object to
confirmation of the chapter 13 plan of debtor(s), because it fails to comply with 11 U.S.C. Sections 1322
and/or 1325 of the Bankruptcy Code, and/or debtor(s) has/have failed to provide information,
evidence, or corrections to the petition, schedules, statements or other documents filed by debtor(s) to
enable the standing trustee to evaluate the Plan for confirmation, as follows:

Debtor(s) has/have failed to provide evidence of insurance coverage on vehicle(s) owned by such debtor(s) as
directed at the meeting of creditors held under 11 U.S.C. Section 341(a).
The Plan does not provide for the submission of all or such portion of future earnings or other future income of
the debtor(s) to the supervision and control of the standing trustee as is necessary to fund the Plan, in violation of
11 U.S.C. Sections 1322 (a)(1).
Debtor(s) has/have failed to provide evidence of insurance coverage on real property owned by such debtor(s) as
directed at the meeting of creditors held under 11 U.S.C. Section 341(a).

       WHEREFORE, the standing trustee requests that the Court enter an order in the form annexed hereto
denying confirmation of the Plan.


                                                      Respectfully submitted,

                                                        /s/ William C. Miller
                                                      William C. Miller, Esquire
                                                      Chapter 13 Standing Trustee
